 

Case 9:07-cv-80138-D|\/||\/| Document 1 Entered on FLSD Docket 02/14/2007 Page 1 of 5

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

cAsENo.; 07-80138

SAMIRA SULLIVAN, on her own ’ _
behalf and others similarly situated, CIV " PAM
MAG|STRATE l
Plaintiff, 10HNSoNUDGE
v.

LANA MARKS LTD, INC.., a Florida
corporation, and LANA J. MARKS,

 

 

 

 

 

individually.
Defendants. C‘;;;i‘:l‘,,“§_ 'S§`§?V`l§“&._
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l. Plaintiff, SAMIRA SULLIVAN, (hereinafter referred to as “Plaintiff”),
was an employee of Defendants, LANA MARKS LTD, INC., a Florida corporation,
LANA J. MARKS, individually, (hereinafter referred to collectively as the
“Defendants”) and brings this action on behalf of herself and other employees and former
employees of Defendants similarly situated to her for overtime compensation and other
relief under the Fair Labor Standards Act, as amended, 29 U.S.C. §216(b). Plaintiff
performed work as a inside sales person and related activities in Palm Beach County,
Florida.

2. LANA MARKS LTD, INC., is a Florida corporation that owns and
operates a business in Palm Beach County, Florida and within the jurisdiction of this

Court.

 

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3. At all times material hereto LANA J. MARKS was and is a resident of the
State of Florida, who owned and/or operated LANA MARKS LTD, INC., and who
regularly exercised the authority to hire and fire employees, determined the work
schedules of employees, set the rate pay of employees, and controlled the finances and
operations of LANA MARKS LTD, INC. By virtue of such control and authority,
LANA J. MARKS is an employer of Plaintiff as such term is defined by the FLSA. 29
U.S.C. §201 §§M_.

4. This action is brought to recover from Defendants overtime compensation,
liquidated damages, and the costs and reasonable attorney’s fees under the provisions of
Title 29 U.S.C. §216 (b) (the Act).

5. Jurisdiction is conferred on this Court by 28 U.S.C. §1337 and by 29
U.S.C. §216(b). At all times pertinent to this Complaint, LANA MARKS LTD, INC.,
was an enterprise engaged in interstate commerce or in the production of goods for
commerce as defined §3(r) and 3(s) of the Act, 29 U.S.C. §203(r) and 203(s). Based
upon information and belief, the annual gross sales volume of LANA MARKS LTD,
INC., was in excess of $500,000.00 per annum at all times material hereto. Additionally,

Plaintiff was individually engaged in interstate commerce and her work was essential to
Defendants’ business.

6. The additional persons who may become Plaintiffs in this action are the
hourly employees who worked in excess of forty (40) hours during one or more work

weeks on or after February 2004, but who did not receive time and a half for such

overtime hours worked.

 

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7. At all time pertinent to this Complaint, Defendants failed to comply with
29 U.S.C. §201-209, in that Plaintiff and those similarly situated to Plaintiff performed
services for Defendants for which no provisions were made by the Defendants to
properly pay Plaintiff (and the other employees similarly situated) for those hours worked
in excess of forty within a work week.

8. In the course of employment with Defendants, Plaintiff and other similarly
situated employees were not paid time and one-half of their regular rate of pay for all
hours worked in excess of forty (40) hours per work week during one or more work
weeks.

9. The records, if any, concerning the number of hours actually worked by
Plaintiff and all other similarly situated employees and the compensation actually paid to
such employees should be in the possession and custody of Defendants.

lO. Plaintiff has retained the undersigned counsel to represent her in this
action, and pursuant 29 U.S.C. §216(b), Plaintiff is entitled to recover all reasonable
attorney’s fees and costs incurred in this action.

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RECOVERY OF OVERTIME COMPENSATION

ll. Plaintiff readopts and realleges all allegations contained in Paragraphs l
through 10 above.

12. Plaintiff is entitled to be paid time and one-half of her regular rate of pay
for each hour worked in excess of forty (4()) hours per work week. All similarly situated
employees are similarly owed their overtime rate for each overtime hour they worked and

were not properly paid.

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l3. By reason of the said intentional, willful and unlawful acts of Defendants,
all Plaintiffs (Plaintiff and those similarly situated to her) have suffered damages plus
incurring costs and reasonable attorney’s fees.

14. As a result of Defendants’ willful violation of the Act, all Plaintiffs
(Plaintiff and those similarly situated to her) are entitled to liquidated damages

15. Plaintiff demands a jury trial.

WHEREFORE, Plaintiff, SAMIRA SULLIVAN, and those similarly situated to
her who have or will opt into this action, demand judgment against Defendants, LANA
MARKS LTD, INC., and LANA J. MARKS, jointly and severally, for the payment of
all overtime hours at one and one-half their regular rate of pay due them for the hours
worked by them for which they have not been properly compensated, liquidated damages
and reasonable attorney’s fees and costs of suit, and such further relief that this Court
deems just and appropriate

Dated: February 8, 2007 Respectfully submitted,
Boca Raton, Florida

 

 

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Boca Raton, Florida 33432
Telephone: (561) 447-8888
Facsimile: (561) 447-8831
Attomeys for Plaintiff

wsm <Rev4 11/05) CIVIL COVER SHEET

Tl'ie JS 44 civil cover sheet'and the information contained‘herein neither re lace nor sugplement the filing and service of pleadin s or other apers as re uired by law, except as provided
by local rules of court This fomi, approved by the Judicial Conference o the United tates in Seotember 1974_ is required fort e use of tlie Clerk of ourt for the purpose of initiating
the civil docket sheet (sEE iNsTRUCTIoNs oN THE REVERSE oF Ti-iE FORM_) NO"I'lCE: Attorneys MUST Indicate Al| Re-t'iled Cases Below.

1. (a) PLAINTiFFs DEFENDANTS Q:I;y_ _PA| N E

SAMIRA SULLIVAN, on her own behalf and others similarly situated LANA MARKS L
a Florida corporation, and LANA J. MARKS, individually,

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(b) County of Residence of First Listed Plaintiff Palm Beach County County of Residence of First Listed Defendant Palm Beach County
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HIGHLANDS
II. BASIS OF JURISDICT!ON (Place an “X" in One Box Only) IIl. ClTIZENSHlP OF PRINCIPAL PARTIES(Place a.n “X" in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
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CI 190 Other Contract Product Liability CI 385 Propeity Da.mage 13 720 Labor/Mgrnt. Relations 13 863 DIWC/DlWW (405(g)) 12 USC 3410
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13 196 Franchise lnjury ___ & Disclosure Act C] 865 RSl (405(g)) Cl 891 Agricultural Acts
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Cl 210 Land Condemnation 13 441 Voting Cl 510 Motions to Vacate Cl 790 Other Labor Liti'gation L'_l 870 'l`axes (U.S. Plaintiff D 893 Environmental Matters
13 220 Foreclosure 13 442 Employment Sentence D 791 Empl. Ret. lnc. or Defendant) Cl 894 Energy Al|ocation Act
Cl 230 Rent Lease & Ejectment Cl 443 Housing/ Habeas Corpus: Security Act 0 871 lRS_Third Pany 111 895 Freedom of lnformation
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Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless
diversity):

V"' CAUSE °F 29 USC 216(b) Aecien Fer Unpaid overtime Wages

 

 

ACTION
LENGTH OF TRIAL via 5 days estimated (for both sides to try entire case)
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